Case 1:98-cr-01101-ILG Document 260 Filed 03/27/19 Page 1 of 1 PageID #: 4157



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
UNITED STATES OF AMERICA
                                                                    ORDER
                                                                    98-CR-1101 (ILG)
         v.

FELIX SATER,

                           Defendant.
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GLASSER, Senior United States District Judge:

         The Court is in receipt of a request (ECF No. 250) to unseal three docket entries for

September 10, 2004 (ECF No. 16), February 3, 2005 (ECF No. 28), and September 23, 2005

(ECF No. 17). Counsel for Defendant and the Government have notified the Court that they do

not object to the unsealing of these items (ECF Nos. 256, 257). Therefore, it is hereby ordered

that the request to unseal docket entries 16, 17 and 28 is GRANTED and the Clerk of Court is

directed to unseal these entries.

         SO ORDERED.

Dated:           Brooklyn, New York
                 March 27, 2019
                                                             /s
                                                             I. Leo Glasser                U.S.D.J.
